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IN THE UNlTED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ARCONIC INC.,
CIVIL ACTION NO. 2:17~cv-l434-JFC
Plaintiff, '
vs.
NOVELIS INC.,
and
NOVELIS CORP.,
Defendants.

PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF RESPONSE TO
DEFENDANTS’ MOTION FOR ORDER REQUIRING PRE-DISCGVERY
IDENTIFICATIGN OF TRADE SECRETS AND CONFIDENTIAL INFORMATION

Plaintiff Arconic Inc. (“Arconic”) hereby submits its Memorandumofr,Lawin Support of
Response to Novelis Inc. and Novelis Corp.’s (“Novelis”) Motion for Order Requiring Pre-
~"~Discovery Identification of Trade Secrets and'Confi`dential Informati'on:""Dkt."3"l"’. Asset forth in
its pending motion, Arconic seeks limited, expedited discovery to assess:the extent to Which '
Novelis has or plans to further disclose Arconic’s trade secrets so Arconic can try to mitigate the
harm and limit additional disclosures Dl<t. l7. In filing this motion, Novelis seeks to avoid or at
least postpone that discovery (and other discovery) until Arconic identifies its trade secrets.
Novelis’ motion fails to mention that, on the same day, Novelis againpublished Arconic’s trade
secrets in a Canadian application Apparently,`Novelis’ disclosure of Arconic’s trade secrets has
not been deterred by this lawsuit.

While Arconic’s response is not due for a Week, there is no reason to Wait because there
is no real dispute here. Arconic has already stated that it is ready, Willing, and able to identify its

trade secrets once a protective order is entered in this case, and indeed has already done so.

 

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Arconic sent Novelis a draft protective order for review before Novelis filed its motion.
Rather than address that draft, Novelis’ “response” was to tile this motion. That is because
Novelis’ motion has little to do with identifying trade secrets, which Novelis already knows
because they are in its own patent application Novelis simply wants delay, and to obfuscate
Novelis’ other unknown (to Arconic) or forthcoming disclosures

Argumentl

Novelis’ motion to stay discovery pending trade secret identification is a red herring that
is designed to evade Arconic’s urgent request for needed, limited, and expedited discovery

Novelis did not attempt to meet and confer to resolve this supposed dispute as required
by this Court’s rules. Had it met and conferred, Novelis would have again been confronted with
the fact that there is no dispute here. While not required, Arconic will identify its trade secrets in
, this litigation as soon as a protective order issues. lndeed,rNovelis already knows this because
Arconic prepared and transmitted a draft Protective Order to Novelis’ counsel before this Motion
“ ` was filed. See 12/4/2017 Letter from Klapow to Stockwel'l; 'a"copy of which is attached`to `
Plaintiff’ s Response to Defendants’ Motion for Order Requiring Pre~Discovery Identification of
Trade Secrets and Confidential lnformation (the “Response”) as Exhibit l Novelis did not
respond to that draft protective order once sent, and has not responded in the intervening week.

While Arconic’S willingness to provide the information moots this motion, it is also true
that Novelis already knows the identity of the Arconic trade secrets at issue in this litigation.

Thus, Novelis’ arguments for a stay pending that identification lack merit.2

 

l Novelis offers a lengthy and counterfactual background of this dispute in their Opposition to
the Motion for Expedited Discovery. Dkt. 30. Because it is neither true nor relevant to any
motion, Arconic will spare the Court a point by point refutation.

2 While styled as a motion under Fed. R. Civ. P. l6(c)(2)(L) ~ which governs the adoption of
(Continued...)

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While Novelis complains Arconic has not identified its trade secrets in the Complaint,
this is standard practice. Dkt.` 32 at l. Of course, no plaintiff can identify its trade secrets in a'\
public complaint because to do so would negate their secrecy. Arconic’s complaint, however,
provides Novelis with enough information such that, given Novelis’ patent application, it can
readily ascertain the identity of the trade secrets Even if it had nothing beyond the complaint,
Novelis’ claim that it does not know what trade secrets are at issue is impossible to credit.

But that is not all Novelis has or will have. Arconic prepared a detailed analysis of
Novelis’ patent application showing how information in that patent application was taken from
Arconic for a “derivation” proceeding before the United States Patent & Trademark Office.
Mitchell Stockwell, counsel of record in this case, Dkt. 22, is also counsel in that proceeding,
and thus has Arconic’s analysis Arconic sent Mr. Stockwell a draft Protective Order, see Ex. l,
s so that Novelis’ other attorneys in this case could haveaccess to that,same analysis3 However,
Novelis’ counsel ignored that letter and the draft protective order, and instead filed this motion.

` `For the foregoing reasons, Novelis’ Motion` shoul'd"`b`e'denied'and“th'e"Court should enter
the Protective Order attached to the Response as Exhibit l. Once entered, although not yet »
required, Arconic will produce the analysis discussed above » which identifies its trade secrets -

and should be allowed to take the limited, expedited discovery Arconic previously rcquested,

 

special procedures at pretrial conference ~ Novelis’ filing is in fact a motion to compel discovery
under Fed. R. Civ. P. 26 based on requests that Novelis has not even served. All of the case law
cited in Novelis’ Motion arises in the context of discovery requests or is otherwise inapplicable
and not a matter for a pre-answer motion.

3 Novelis’ argument that Arconic is refusing to “allow Novelis’ litigation counsel to use those
materials in this matter, or even to read an unredacted version of [the analysis above] because
Novelis’ litigation counsel’s pro hac vice admissions have not yet been granted,” Dkt. 32 at 3, is
pure misdirection. What Arconic actually said is that it will produce the analysis Novelis seeks
in this case (and already has in another matter) “after entry of a protective order. ”

 

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Dkt. l7.

December ll, 20l 7

Respectfully submitted,

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on December 11, 2017, the foregoing Plaintiff’s
Memorandum of Law in Support of Response to Defendants’ l\/lotion for Order Requiring Pre-
Discovery Identification of Trade Secrets and Confidential Information was electronically filed

and served upon counsel for the Defendants through the Court’s ECF system:

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